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                                  EXPERT
              CHERI SURLOFF, PHD., PSYD
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                                                                        CHERI SURLOFF,            Ph.D., Psy.D.
                                                                                  Clinical Neuropsychology
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      REPORT
      NAME                             I



      AGE/SEX/DOB                      1



      EXAMINER                         3   Cheri Surloff, Ph.D., Psy.D.
      DATE OF INCIDENT                 1   12/02/18
      DATE OF EXAMINATION              1   O8/13/20
      DATE OF REPORT                       O8/31/20

                                       M CONTENTS CONFIDENTIALW
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      professionals capable of ethically and professionally interpreting, understanding and
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      REASON FOR REFERRALz
                            was sexually assaulted by a crew member while on the Carnival Cruise
      Ship, Miracle.       The ship was in international waters. She was 21 years old when the
      assault occurred.

      RELEVANT HISTORYz                  describes her attacker as an Indonesian wearing a blue
          When she was being
      shirt.                         treated for the assault she was described as having npanic
      attacksl per Steve Matthews, CTOC, who received a call from Carnival Cruise Line Duty
      Agent, Julio Eftopiaman about the sexual assault. This was investigated by the Federal
      Bureau of Investigation due to the incident happening on international waters.
                   was traveling with her friend, Amanda Powell, who she was sharing a cabin
      with during the cruise. It is reported that she had been drinking and ran on the pool deck,
      where she slipped and fell, subsequently hitting her head. She stated that she met
      someone who worked on the ship who she remembers kept stating -lYou look like my
      girlfriendfl She saw his nametag and remembers that he was from Indonesia. He took
      her inside a locker and ltThere were mops in there.       remember his penis was out. He
                                                                    I



      bent me over, entered me and ejaculated on my backside. was confused as to where
                                                                              I                                        I




      was and wanted to go back to my room. Prior to this had been drinking and he was
                     I                                                    I



      rubbing his penis against my back. He said llf you want me to open the door you have to
      bend overf He had locked the closet door. He pulled my shorts down and entered me.
      He said tLetls go back to your cabin, itls my lunchbreakf She was able to return to her
      cabin and told Amanda Powell what had happened. They went to Guest Services to
      inform them. Security showed her cruise photos and she was able to identify her rapist.
      The attack happened sometime between the hours of 12/01/18 and 12/02/18. The cruise
      member stated to the FBI that she asked him to hide her in the locker. He states nShe
      hugged me, touched my penis, and asked me if wanted to fuckfl He stated that he said
                                                               I




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      no, but she masturbated him with her hand.       He stated she undid the pant clasp and
      pulled his pants down. He stated that he ejaculated in her hand, although he may have
      ejaculated into his hand as well. He then stated that she bent over in front of him with her
      shorts pulled down, so he placed his penis inside her, but he had already ejaculated from
      the masturbation and withdrew from inside her. He did not know if he ejaculated while he
      was inside her. He states she kissed him and he Ufelt the entire encounter to be
      consensualll.

      She has had multiple previous traumas, the early death of her father at age six, and she
      was sexually assaulted by her grandfather at age nine. She confided this to her mother,
      who did not believe her or support her at that time. She was admitted to Centennial Peaks
      Hospital after an attempted suicide overdose at the age of 14, on 7/9/11. She was
      admitted due to the ingestion of multiple pills and cleaning products. She was assessed
      by Elizabeth Shuman, MD, who stated that              had a history of depression since the
      sixth grade. This was consistent with the timeframe of what must have been a very difficult
      integration of sexual advances from a loved grandparent. He had told her not to tell
      anyone. She describes the relationship with her mother as not supportive, and
       invalidating of her pain        and the voracity of the sexual molestation of her grandfather   at
       age   9.


      She sought security and stability from other relationships. The precipitating factor when
      she was 14 and attempted suicide, was that her boyfriend was dating her best friend.
      She initially stabbed herself in the stomach, which may have been symbolic for tnot being
      able to stomach the events around her at age 141 She was diagnosed with major
      depressive disorder, single episode, moderate, without psychosis, and moderate
      psychosocial stressors. This seems to be an understatement of the psychosocial arena
      that she was living in, however, she was discharged on Zoloft 37.5 mg and Sertraline as
      a selective serotonin reuptake inhibitor. It would not have been prescribed if bipolar
      illness was suspected, as an SSRI can spiral a patient vulnerable to bipolar disorder into
      mania. This drug was well accepted by                and she states that she felt better on the
      drug, however her mother discontinued the medication because she told                 they could
      not afford      it.    stated that she felt very uncomfortable when she stopped the drug,
      although she was only on for a month or two, and it took her a month to get back to
                                          it

      feeling better. This is because there is receptor change with the serotonin reuptake
      inhibitors, and one should not abruptly withdraw from it. Her mother did not procure any
      other avenue to get            the drug, although she presented with irritability, crying spells,
      and feelings of hopelessness per her psychiatric evaluation on 7/20/11, she was tthe
      identified patientl with little intervention for the feelings of betrayal and invalidation she
      felt from those closest to her, especially her mother and grandfather.


            describes her relationship with her mother as loving, but not supportive in areas
      where she felt very fragile. Her mothertold her she would have to live with her grandfather
      due to her instability in her own life, as well as what         described as alcohol and
      substance abuse by her mother at that time.           states nMy Hrst suicide attempt was
      when thought would have to live with my grandfather. He was in his 40ls then and
                  I         I




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      sometimes he would just hug me too long. The sexual encounter was about touching his
      genitals.never wanted to be alone with him again. never really told my cousin, was
                        I                                           I                            it

      awkward. My grandfather told me the reason that it happened is that should have said
                                                                                I




      no and was my fault. He was in the house and had been drinking. Again,
                   it                                                                is left
      feeling guilty for the actions of people who are not only close to her, but are adults, so
      she internalizes this. She states tin order to have a relationship with my mother, had to
                                                                                             I




      be the adult. She was doing drugs at that time. Her boyfriend was supportive of me, and
       Ivalued that relationship, however, my mother became jealous and did not want me to
      have a relationship with him. was then engaging in obsessive rituals like counting my
                                          I



      bites when would chew and enjoying even numbers on tasks. It is clear that
                            I                                                               was
      attempting to control her environment to control some aspect of her behaviors because
      her environment and ensuing anxiety from the psychosocial stressors and feelings of
      isolation and betrayal were out of her control at that time. She was in Colorado at the
      Medical Center and became more interactive and benefitted from therapy and wanted to
      learn better coping strategies. She was treated by Wayne Scott Jeffers, MD. He wrote
      on 7/9/11 nShe benefited from her stay and reported seldom having suicidal ideation. She
      lost any intention to act on suicidal thoughts. She had no evidence of a thought disorder
       or manic symptomatology and no difficulty expressing herself or her thoughtsf In 2018,
       she experienced another abandonment of a rather abrupt nature when a young man who
       she was dating stated that she was too young for him. He was ten years older. She
       again decided to end her life. She wrote a note love youfl She stated nMy world was
                                                          All



       shattered.    knew it would never be the same especially since didnlt have you. You
                                I                                           I




       always   made me feel so safefl Again, reaffirming that she sought stability and a constant
       relationship with men in her life, and reacted with the post-traumatic stress disorder
       symptomatology when she felt that she was abandoned. The cruise was two weeks later.
       She writes tTo Amanda, It should have never happened. have to make go away
                                                                        I               it

       forever. That is why have to go away forever too. canlt get my head out of that closet.
                                    I                           I




       Ifeel like canlt ever breath anymore), She wrote to her mother HAII the pain will go away
                        I




       and know that no one will ever know what live been throughfl
               I




       She was able to engage, on 12/13/19, to identify warning signs, panic, tears and thoughts
       of suicide.  She had a support contact at all times. She had Amandats phone number,
       Andreya and Amber. She learned strategies to avoid alcohol, not access firearms, and
       to keep away from anyone that would have firearms. She put a picture of her niece and
       nephew on the dash while she was driving and gave all her medications to her sister to
       hold until needed that week. She was adopting all the behavioral resolutions and therapy
       that had been provided to her. She wrote Hlf cannot keep myself safe, will go to the
                                                      I                             I



       nearest ER or call 911T She saw Dr. Robert Reinach on 12/18/19, who felt her fatigue,
       loss of energy, feelings of worthlessness, excessive guilt resulting in suicidal ideation,
       was the result of the factors prior to the rape that made her more vulnerable to the
       consequences of that rape. One involved the death of her father at 6 years of age, her
       motherls alcohol and substance abuse, her motherls inconsistent behavior with her
       feelings of abandonment, and her grandfather, who she felt very loved and attached to,
       sexually abusing her, resulting in the culmination of being raped on the ship, which should
       have been a secure haven for rest and relaxation where she was trying to get over the

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      breakup that she had just had with her boyfriend. She was then given a diagnosis of post-
      traumatic stress disorder, depression and anxiety. She also was diagnosed with bipolar,
      mixed, but was never given drugs for bipolar illness, nor has she had symptomatology of
      bipolar illness since that diagnosis. She stated that she shaved her head in April 2019,
      and had her head tattooed as a sign of strength and change. She also engaged with a
      crises center in September 2019, and began heavy drinking in October and November of
      2019. She stated tl had a drinking problem after the cruise.        had difficulty with trust                 I



      issues with menfl She writes nThe incident has changed my life.           have depressive                                     I



      episodes. sufferfrom anxiety in public. It has affected how intimate am with a person.
                      I                                                                                                         I




      Iwas not only raped and taken advantage of by the shipls rapist employee, but was also                                                            I




      humiliated by the defendantsl staff.     was being treated indifferently. was kept in the
                                                                                  I                                                     I



      dark. They wouldnlt let me see video footage. They kept my undenlvear. They let me
      stay in the clothes was raped in.
                                  I          had to walk past the passengers disembarking in a
                                                                          I



      large T shirt looking horrible.   remember how the staff from the subject cruise said IOh
                                                      I



      this happens all the timef Now when see on the news or an article anything about cruise
                                                                                  I



      rapes it affects me on a deeper level. Months after the incident occurred, shaved my                                                      I



      long blonde hair completely off. felt needed to change myself physically.
                                                                      I               I had gotten                                                  I



      two tattoos, one on my head and one on my ribs that resemble new beginnings and
      getting through hard times. At the lowest point thought of killing myself.     had a plan.
                                                                                          I                                                 I                              I



      went around to visit my friends and create memories for them to remember me. also                                                                         I




      wrote everyone notes.       was hospitalized. Further, feel that the cruise line is directly
                                          I                                                           I




      negligent for its misrepresentations in their literature, website, and videos about the
      existence and quality of its crew and officers, and the services provided by the crewf

      tIOn December 1, 2018, was sexually assaulted by one of the defendantls employees.
                                              I




      At the time  was sexually assaulted was a 21-year-old traveling with my friend Amanda,
                          I                                                   I




      and my friendts family. That was my first cruise. On the last night of the subjectls cruise,
      Iwent up a stairwell in the pool deck area. At the top was an employee of the defendant.
      Once reached the top of the stairs the subjectls employee lured me into a closet. He
                I




      went inside the closet with me and locked the door behind me. He pulled my shorts down
      and bent me over some sort of cone. He penetrated me and ejaculated on me. Thereafter
      he unlocked the closet door and let me leave. immediately rushed away towards my            I




      room. The employee caught up with me and asked me to allow him back in my room.                                                                                      I




      declined his request. Once reached my room burst into tears and told Amanda what
                                                  I                                               I



      had just happened. was so angry and hurt and confused as to what had happened.
                                      I




      Amanda and went       to tind help and report what had happened.
                              I                                            located employees of                         I



      the cruise to report the crime.     started hypen/entilating.
                                                              I     was placed in a wheelchair                I



      and taken to the medical facility inside the cruise. There a rape kit was utilized on me.
      Ship security questioned me and FBI agents came on the ship and questioned me. To
      the best of my recollection the employee had a nametag that said Indonesia.          donlt                                                            I




      remember how he looked, but remember his eyes and him looking down on me.
                                                                  I                                                                                                        I



      positively was able to identify him as the rapist. was also subject to numerous episodesI



      of humiliation following the medical examination where had to walk through dozens of                I



      passengers who were waiting to disembark the ship.             felt so embarrassed. The                 I




      passengers were ogling me as passed them in just a T shirt, and was not provided any
                                                          I                                                                 I




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      fresh clothes to wear. lwas also told by the lady that performed the rape                                                                     kit   (This            happens
      all the timef It was infuriatingfl


      Hlt     the last day of my cruise. was on the boat all day with my friend Amanda.
            was                                                                     I                                                                                                    We
      were  tanning  and at the pool all day. went to Fine Dining with Amanda and met two   I




      guys.    went back to my room to change. Later went to the comedy show. sat with
                                                        We                                                            We
                  I                                                                                     I                                                              I




      the guys and Amanda.          all went to take pictures.  hung out in the room for some
      time after the show. One of the guys wanted to take us back to our room. On the way
      back to my room is when the incident occurred. Afterthe incident occurred, went running                                                             I




      back to my room. had consumed some alcoholic beverages during that day while at the
                                    I




      pool, dinner and comedy show.       did not consume any drugs or medicationsfl
                                                                                I




      She    stated had a drinking problem after the cruise. had trust issues with men. Stress
                          ill
                                                                                                                      I



      caused me to lose my hair. decided to shave it off in a moment of panic. felt would
                                                                    I                                                                                         I                    I




      never be raped again if was uglier. Shaving my hair made me feel that had a different
                                                    I                                                                                                I




      identity, now the strong lbrave girl who shaved her hair off, not the lweak girl who was
      raped on the cruisef     had a lot of sleepless nights and dark thoughts and became
                                                I                                                                                                                  I




      vulnerable to thoughts of suicide.    decided to execute a plan. couldnlt cope with my
                                                                                        I                                                   I




      work schedule and was having a tough time maintaining my psychological equilibrium.                                                                                                          I




      went down from three jobs to one within months. Affection was hard for me with partners
      for a long time. Also, donlt know if this is a bad thing to say, feel wrong for saying
                                            I                                                                                       I                                                         it,

      but when work where work, there is a lot of Asian people who come in and have a
                      I                                 I                                                                                                                      I




      panic attack for a moment. llm not really racist by any means and hate to admit that                                                      I                                                  I




      become very agitated when see an Asian manfl              I




      One of           most salient trigger points is her abandonment of security figures as well
      as betrayal and harm sexually by men. When she is vulnerable at ages 9-11 with a
      beloved grandfather, or crew member on a cruise ship when she is incapacitated with
      alcohol, this triggers all of the past emotional upheavals and vulnerabilities. She now is
      in a stable relationship with her babyis father. His parents are also very supportive of her.
      She states HMy feelings resurfaced for what happened to me as a child. blamed myself                                                           I




      for many months about what happened on the cruise ship and fear that no one would
      believe me, as how felt with Pompo for a long time.
                                        I                         hit a really low point and was on                       I



      the verge of killing myself again.     had a plan this time. was going to do it better than
                                                                                    I                                         I



      when was 14. am working with my therapist on how to deal and cope with what has
              I                 I




      happened to me and to not ever be suicidal again. know now did not ask for a grown                          I                     I



      man to lock me in a closet while was drunk. am working at being healthier for my child.
                                                                            I                   I



      The baby has been my saving gracefi

      HPompo, my grandfather, molested me when was young. For a long time, blamed                   I                                                                      I




      myself for what happened and chose to forget      had a relationship with him as a
                                                                            I                               it.       I



      teenager, however when was raped on the cruise ship my feelings resurfaced for what
                                                            I



      happened to me as a child. blamed myself for many months about what happened on
                                                                        I



      the cruise shipfi



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       SUMMARY2      In summary,         has been experiencing post-traumatic stress disorder in
       response    totrauma she experienced as a child, as well as sexual molestation by her
       grandfather, culminating in the rape on the cruise ship. Post-traumatic stress disorder is
       an anxiety disorder that develops in response to a traumatic experience with
       hyperarousal, avoidance behaviors, and a numbing of responsivity as well as cognitive
       distortions. She describes difhculty with sexual responsiveness in relationships after the
       rape. lntense psychological distress, recurrent and distressing recollections of the rape,
       poor sleep, and hyper physiological reactivity. She felt such persistent symptoms of post-
       traumatic stress disorder that she contemplated suicide. The diagnostic criteria for post-
       traumatic stress disorder is in the DSM5. Post-traumatic stress disorder is unique among
       psychiatric disorders in that the symptoms are tied directly to the etiological event, the
       traumatic stressor (Breslau, 2002). ln her case the rape recapitulated all of the childhood
       trauma, especially the sexual trauma, who report higher rates of exposure to post-
       traumatic stress disorder from rape, sexual molestation, childhood neglect and physical
       abuse (Hildago and Davidson, 2000). Early response to trauma increases the risk
       through reexposure (Breslau, Davis, Andresti, 1995). These increase the risk factors for
       post-traumatic stress as one enters another phase of life.

       Much   ofwhat has motivated her to contemplate suicide is the uncontrollable stressg the
       amygdala induces the relapse of high levels of catecholamines and cortisol, which impairs
       prefrontal cortex regulation of behavior. Thoughts are inhibited by the strong focus of
       emotional centers. This is when the amygdala floods the prefrontal cortex with
       catecholamines and takes the prefrontal cortex loff linel. It diminishes rational behavior
       and thought. This makes it more difficult for her to realize that she was not at fault or
       responsible forthis rape (Quirk, Likhtik, Pelletier, 2003).       is experiencing high levels
       of negativity after the rape, which increased her perception of risk in her environment
       (Butler and Mathews, 1983, and Constans 2001). It is found that in post-traumatic stress
       her condition would escalate to suicidal ideation and it is not uncommon in post-traumatic
       stress disorder that the event augmented her initial vulnerability to the sexual assault and
       the thoughts of suicide. There is a propensity to worry and there is a perception of risk
       (Constans, 2001). In            history of childhood mistreatment and sexual abuse, this
       affects her vulnerability to emotional,            behavioral, cognitive, neuroendocrine,
       neurotransmitter system dysregulation, and affects her reactions to further traumas that
       she experienced, such as the unexpected rape. This also increases the likelihood of
       increased anxiety and depression (Lansford, Dodge, Petit), a twelve-year perspective
       study of the long-term effects of early childhood physical maltreatment of psychological
       behavioral and academic problems in adolescence, revealed this data. This paves the
       way for future depressive disorders, substance abuse, and suicide attempts. Negative
       trauma appraisals by          elicited shame, guilt and suicidal ideation. The feelings of
       hopelessness she felt after the rape, with depression, co-varies with suicidal ideation
       (Resick et al 2002, Gallagher and Resick, 2012).




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      The  intervention at Kaiser Permanente assisted her to reduce severe major depression
       and suicidal ideation. Her pregnancy motivated her to align with therapy to buffer the
      effects of the rape and her depression as well as post-traumatic stress disorder. There
      are certainly mechanisms of change and cognitive processing therapy, and her prolonged
      exposure therapy for post-traumatic stress disorder. There is also the hormonal influence
      and hope and optimism of her having the baby. She is now in a relationship that is stable,
      which is something that she craved throughout her childhood, and hopefully she will
      continue, after the birth of the baby, to feel supported and to not have disabling
       symptomatology.

       DlAGNOSESz
       1.     Post-traumatic stress disorder.
       2.     Major Depressive Disorder, recurrent,      in   remission

       RECOMMENDATlONSz
       1)      It is recommended that         see a psychiatrist twice weekly to integrate her
       traumatic childhood events exacerbated by her sexual assault.
       2)      Due to the level of hyperarousal in post-traumatic stress disorder she is more
       vulnerable to higher cognitive processing being compromised. The involvement of a
       psychiatrist should be ongoing to help her gain modulation of her anxiety and potential
       suicidal ideation. She will be more vulnerable to psychosocial stressors with the PTSD
       due     to   change.
       3)                 benefit from attending AA for support and peer mentoring to avoid
                    She would
       alcohol      abuse
                        concert with her individual therapy.
                              in
      4)     Continued psychiatric monitoring and psychotropic intervention. An emphasis
      should be placed on the behavioral effects that include her misrepresentation of emotional
      and social information, and to assist in an appropriate interpretation of her emotions and
      actions of others in her processing of affective memories and inhibiting inappropriate
      social response as well as hospitalizations.
      5)     She would benefit from walking 30 minutes a day to reduce anxiety and augment
      feelings of physical vitality.
      6)
               Treatment             Frequency       Duration             Cost Per       Total Cost
                                                                          Visit
               Psychotherapy         2/week          2 years              S200.00H       541,600.00
               Psychotherapy         1/week          56 years             5200.00        S582,400.00
               Group Support         1/week          58 years             S125.00m       S377,000.00
       1
           Social Security Actuarial Life Table  shows that a 23 year old female has a   life   expectancy of
       58.72 years.         httpsz//www.ssa.gov/oact/STATSltable4c6.html.
       H see e.g. Zencare - blog.zencare.co/therapy-fees-how-much-to-charge-private-practice/
      msee e.g.        Zencare - zencareco/therapy-group/psychodynamic-therapy-group-for-substance-
       use-issues


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     Executive Member of the Board of Medical Psychology
     Past President of Medical Division, Florida Psychological Association
     Post-Doctoral Masters in Clinical Psychopharmacology
     Florida Licensed Psychologist, PY5918

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   NEUROPSYCHOLOGICAL REPORT

   NAME                            :
   AGE/SEX/DOB                     : 25-Female-
   EXAMINER                        : Cheri Surloff, Ph.D., Psy.D.
   DATE OF INCIDENT                : 12/02/18
   DATE OF EXAMINATION             : 06/20/22
   DATE OF REPORT                  : 07/05/22

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   transfer of this report is expressly prohibited).

   REASON FOR REFERRAL:
                    was sexually assaulted by a crew member while on the Carnival Cruise
   Ship, Miracle. The ship was in international waters. She was 21 years old when the
   assault occurred. Her attorney connected her with me shortly before the scheduled start
   of trial.

   RELEVANT HISTORY: Please see report of 8/31/20.                   continues to be in a stable
   relationship with Bradley Boaz. His parents are also very supportive of her. Since I saw
   her she had a baby. Although the baby has been a joy to both parents, she is still clearly
   suffering post-traumatic stress and her diagnosis remains. She has sleeping issues,
   forgetfulness, anxiety, and most significantly, fear. She is concerned about someone
   coming from behind her and attacking her. This is at its peak when she is alone with her
   child in public. She becomes panicky when she has to bend over and put him in his car
   seat. She gets startled and afraid when Bradley comes behind her even in an affectionate
   way. She is currently not suicidal but still suffers from iconic memories which she refers
   to as "pictures" that she recalls, most typically from the inside of the maintenance closet,
   and especially the latch door and her being bent over as he entered her from behind.

   Since I last saw her, with the assistance of a few therapists, she continued to deal and
   cope with the aftermath of the rape. Her number one priority is towards working at being
   healthier for her child.

   SUMMARY: Please see Report of 8/31/20. Despite                hope and optimism prior to
   her having her baby,             is still experiencing post-traumatic stress disorder
   symptomotology that includes: fear; flashbacks; loss of interest or pleasure in activities;
   hypervigilance; social isolation; trouble concentrating; emotional detachment; and

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   unwanted thoughts.         is interested in getting better and she is willing to put in the
   work to lessen her symptomotology. She has tried psychotherapy with some success but
   her abandonment issues resurfaced when her psychotherapist left Better Help. She
   needs: to be seen regularly by a psychiatrist; consistent psychotherapy; and group
   support. My opinions and recommendations from August 31, 2020 remain.




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